 8:08-cr-00084-BCB-MDN            Doc # 37   Filed: 04/18/08    Page 1 of 1 - Page ID # 58



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )            8:08CR84
                     Plaintiff,                    )
                                                   )
       vs.                                         )             ORDER
                                                   )
ALLEN W. JENSEN,                                   )
                                                   )
                     Defendant.                    )




       This matter is before the court on the motion of First Assistant Federal Public Defender
Shannon P. O’Connor and the Office of the Federal Public Defender to withdraw as counsel
for the defendant, Allen W. Jensen (Jensen) (Filing No. 35). Mr. O’Connor represents that
the Office of the Federal Public Defender has a conflict of interest in this matter. Mr.
O’Connor’s and the Office of the Federal Public Defender’s motion to withdraw (Filing No. 35)
is granted.   Dana C. Bradford, III,1620 Dodge Street, Suite 1800, Omaha, NE 68102, (402)
342-4200, is appointed to represent Jensen for the balance of these proceedings pursuant
to the Criminal Justice Act. Mr. O’Connor shall forthwith provide Mr. Bradford with the
discovery materials provided the defendant by the government and such other materials
obtained by Mr. O’Connor which are material to Jensen’s defense.
       The clerk shall provide a copy of this order to Mr. Bradford, and he shall file his
appearance forthwith.
       Trial of this matters remains scheduled for May 12, 2008, before Senior Judge Lyle E.
Strom and a jury unless otherwise continued by the court.


       IT IS SO ORDERED.
       DATED this 18th day of April, 2008.


                                                   BY THE COURT:
                                                   s/ Thomas D. Thalken

                                                   United States Magistrate Judge
